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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


DAVID BROWNE; ANTONIO CALDWELL;
and LUCRETIA HALL, on behalf of themselves
and all those similarly situated                                                 PLAINTIFFS

v.                               CASE NO. 5:16-CV-5366

PAM TRANSPORT, INC.                                                             DEFENDANT


                      PHASE ONE CASE MANAGEMENT ORDER


       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure , IT IS HEREBY

ORDERED as follows :

1.     DISCOVERY

       Discovery in this case will be bifurcated. The first phase of discovery will be limited

to: (1) issues relevant to a possible defense motion for decertification of the conditionally

certified Fair Labor Standards Act ("FLSA") collective action ; and (2) issues relevant to a

possible Plaintiffs' motion for Rule 23 class certification . The deadline for completion of

phase one discovery is MARCH 9, 2018 .

       Prior to filing a discovery motion , the parties must (i) engage in a substantive good

faith effort to amicably resolve the dispute without court intervention (to include at least one

verbal discussion), and then , if necessary, (ii) the parties must schedule a conference call

with the Court to discuss the dispute. In the event a discovery dispute cannot be informally

resolved by the Court, then a formal motion must be filed sufficiently in advance of the

discovery deadline to allow for a proper response time under the rules. The length of any

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such motions and supporting memorandum shall not exceed ten (10) pages in length

(excluding exhibits) . A response to a discovery motion, with the same page limitations,

should be promptly filed.

2.     MOTION TO DECERTIFY FLSA COLLECTIVE ACTION AND/OR MOTION FOR
       RULE 23 CLASS CERTIFICATION

       Defendant's motion to decertify the conditionally certified FLSA collective action

must be filed no later than MARCH 30, 2018 . In similar fashion , if Plaintiffs wish to file a

motion to certify a Rule 23 class , such motion must be filed no later than MARCH 30, 2018.

       Responses to either of the above-listed motions are due on APRIL 30, 2018.

       Replies to the responses are due on MAY 14, 2018 .1

       A hearing on the above-listed motions will occur on JUNE 28, 2018 , at 10:30 am

in the fifth floor courtroom in Fayetteville. If the parties do not desire a hearing on

either motion , they should inform the Court as soon as possible.

       Agreed exhibit and witness lists, and deposition designations pertinent to the issues

to be presented at the hearing (if any) are to be submitted to the Court no later than MAY

24, 2018.

       The parties are instructed to contact the Court no later than MAY 24, 2018, if they

determine a pre-hearing conference is necessary and should be set.

       If a motion for decertification of the collective action is denied and/or if a motion for

Rule 23 class certification is granted , the lawsuit will then proceed to phase two of



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  All briefing deadlines have been extended so as to contemplate the parties' need for
extra time to respond to the motions. Accordingly, the Court does not intend to grant any
extensions of time, absent special or emergency circumstances.

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discovery, which will concern the merits of the case. A Phase Two Case Management

Order will issue at that time, setting forth a trial date and other relevant deadlines.

3.     SETTLEMENT CONFERENCE

       The parties are not ordered to attend a settlement conference at this time, but if they

feel that a settlement conference would assist in bringing resolution to the case , they may

contact Magistrate Judge Erin L. Wiedemann 's chambers, at elwinfo@arwd.uscourts.gov,

and she will set a conference by separate order.

4.     COMMUNICATION WITH COURT REGARDING SETTLEMENT

       Please communicate any settlement or late-developing issues to the Courtroom

Deputy, Sheri Craig , at (479) 695-4460 or tlbinfo@arwd.uscourts.gov. In the event of

settlement, advise Ms. Craig immediatelk

       IT IS SO ORDERED on this      ~ay of May




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